1    Anthony G. Buzbee (TX Bar No. 24001820)(Admitted Pro Hac Vice)
     tbuzbee@txattorneys.com
2    Cornelia Brandfield-Harvey (TX Bar No. 24103540)(Admitted Pro Hac Vice)
     cbrandfieldharvey@txattorneys.com
3
     THE BUZBEE LAW FIRM
4    600 Travis Street, Suite 7300, Houston, TX 77002
     Tel: (713) 223-5393
5
     Fax: (713) 522-5909
6
     Nicole C. Cusack (AK Bar No. 1511093)
7    nicole@cusacklawak.com
8    CUSACK LAW, LLC
     2665 East Tudor Road, Suite 202
9    Anchorage, AK 99507
10   Tel: (907) 903-4428
     Fax: (907) 222-5412
11
12   Charles Sturm (TX Bar No. 1511093)(Admitted Pro Hac Vice)
     csturm@sturmlegal.com
13   STURM LAW PLLC
14   712 Main Street, Suite 900
     Houston, TX 77002
15   Tel: (713) 955-1800
16
     Attorneys for Plaintiffs
17
18                       IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA
19
20   THERESA DUTCHUK, ANNALISA        Case No.: 3:19-cv-00136-HRH
     HEPPNER, LIZ ORTIZ, RANNA WELLS,
21   NORMA JOHNSON, AND JANE DOE VI
22                                    NOTICE OF PERTINENT AND
               Plaintiffs,
                                      SIGNIFICANT LEGAL AUTHORITY
23
                   vs.
24
25   DAVID YESNER, UNIVERSITY OF
     ALASKA BOARD OF REGENTS AND
26   UNIVERSITY OF ALASKA SYSTEM,
27                 Defendants.
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     NOTICE OF PERTINENT AND SIGNIFICANT LEGAL AUTHORITY
1           NOTICE OF PERTINENT AND SIGNIFICANT LEGAL AUTHORITY

2           Pursuant to Local Rule 7.1(d), Plaintiffs would like to put this Court on notice of
3
     legal authority that is pertinent and significant to Plaintiffs’ argument set forth in their
4
     Response to Defendants University of Alaska Board of Regents and University of Alaska
5
6    System’s Partial Motion to Dismiss [Dkt. No. 56][See pp.14-15].
7           Plaintiffs would like to submit the attached case Hernandez v. Baylor University,
8
     274 F. Supp. 3d 602 (W.D. Tex. 2017) for the Court’s review and consideration.
9
10          In Hernandez v. Baylor University, the Western District of Texas declined to
11   dismiss plaintiff’s Title IX claims as untimely when she alleged that she first became aware
12
     of the university’s deliberate indifference to a known issue of sexual misconduct within its
13
14   football program four years after the university football player assaulted her—when a law
15   firm investigating the university’s handling of sexual-assault allegations released its
16
     report. Id. at 617. Although the plaintiff knew she had been assaulted and that the
17
18   perpetrator had assaulted other women, the court believed it was reasonable to infer that

19   her claims did not accrue until later investigations publicly revealed that the
20
     university knew and could have prevented her assault. Id. at 616-617.
21
22          The Court in Hernandez denied Defendants’ Motion to Dismiss based on statute of

23   limitations defense because based on allegations, plaintiff “had no reason to suspect that
24
     Baylor’s alleged deliberate indifference played a role in her assault,” where plaintiff
25
     did not learn of university’s role in causing her sexual assault until law firm hired to
26
27   investigate university’s handling of sexual assaults released findings years later. Id. at
28
     617.

                                                  2
     NOTICE OF PERTINENT AND SIGNIFICANT LEGAL AUTHORITY
1           Plaintiffs’ case here against University of Alaska is similar. Plaintiffs appreciate this

2    Court’s consideration of this legal authority.
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     DATED: January 28, 2020
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     NOTICE OF PERTINENT AND SIGNIFICANT LEGAL AUTHORITY
1                                                Respectfully submitted,
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                                                 By: /s/ Cornelia Brandfield-Harvey
3                                                Anthony G. Buzbee
                                                 (Admitted Pro Hac Vice)
4
                                                 Attorney in Charge
5                                                Texas Bar No. 24001820
                                                 Federal Bar No. 22679
6
                                                 Cornelia Brandfield-Harvey
7                                                (Admitted Pro Hac Vice)
                                                 Texas Bar No. 24103540
8                                                Federal Bar No. 3323190
9                                                THE BUZBEE LAW FIRM
                                                 600 Travis Street, Suite 7300
10                                               Houston, Texas 77002
11                                               Tel: (713) 223-5393
                                                 Fax: (713) 522-5909
12
13                                               Nicole C. Cusack (AK Bar No. 1511093)
                                                 CUSACK LAW, LLC
14                                               2665 East Tudor Road, Suite 202
15                                               Anchorage, AK 99507
                                                 Tel: (907) 903-4428
16
17                                               Charles Sturm
                                                 (Admitted Pro Hac Vice)
18                                               STURM LAW PLLC
19                                               Texas Bar No. 1511093
                                                 Federal Bar No. 21777
20                                               712 Main Street, Suite 900
21                                               Houston, Texas 77002
                                                 Tel: (713) 955-1800
22
23                                               ATTORNEYS FOR PLAINTIFFS

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     NOTICE OF PERTINENT AND SIGNIFICANT LEGAL AUTHORITY
1                                  CERTIFICATE OF SERVICE

2           I hereby certify that on January 28, 2020 I filed a true and correct copy of the
     foregoing document with the Clerk of the Court for the United States District Court –
3
     District of Alaska by using the CM/ECF system. Participants in Case No. 3:19-cv-00136-
4    HRH who are registered CM/ECF users will be served by the CM/ECF system.
5
                                                   /s/ Cornelia Brandfield-Harvey
6                                                  Cornelia Brandfield-Harvey
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     NOTICE OF PERTINENT AND SIGNIFICANT LEGAL AUTHORITY
